                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
WPC                                              271 Cadman Plaza East
                                                 Brooklyn, New York 11201



                                                 May 24, 2022

By Hand and ECF

The Honorable Carol Bagley Amon
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Denny Martin
                     Criminal Docket No. 21 – 67 (CBA) (PK)

Dear Judge Amon:

              The defendant in the above-referenced matter pled guilty before United States
Magistrate Judge Peggy Kuo on May 16, 2022. A copy of the transcript of the guilty plea
proceeding is attached hereto. The government respectfully requests that the Court review
the defendant’s guilty plea allocution in order to determine whether to accept it.

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:    /s/William P. Campos
                                                 William P. Campos and
                                                 John Vagelatos
                                                 Assistant U.S. Attorneys
                                                 (718) 254-6104

Enclosure (By Hand Only)

cc:    Mark Harris, Esq. (By Email)
       Reut Samuels, Esq. (By Email)
